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Recipients of Notice of Electronic Filing:
tr          Richard M Kipperman             teresaj@corpmgt.com
aty         Gary E. Slater        ges@slatertruxaw.com
aty         Harris J. Koroglu         hkoroglu@shutts.com
aty         J. Alexandra Rhim          arhim@hemar−rousso.com
aty         Mette Kurth         mkurth@foxrothschild.com
aty         Nathan Schultz         nschultz@foxrothschild.com
aty         Stephen C. Hinze          sch@schinzelaw.com
aty         Timothy J. Truxaw           tjt@slatertruxaw.com
aty         Wayne R. Terry          wterry@hemar−rousso.com
                                                                                                                         TOTAL: 9

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          Core Supplement Technology, Inc.            4645 North Ave          Oceanside, CA 92056
cr          Bank of America, N.A.          c/o Hemar, Rousso & Heald, LLP             15910 Ventura Blvd., 12th Floor       Encino,
            CA 91436
cr          Michael D. Schulman           18757 Burbank Blvd.          Suite 310         Tarzana
cr          Berlin Packaging L.L.C.         525 West Monroe Street            Chicago, IL 60661
cr          Creditors Adjustment Bureau, Inc.,          14226 Ventura Blvd.          Sherman Oaks, CA 91423
cr          Pyure Brands, LLC          c/o Harris J. Koroglu         Shutts & Bowen LLP          200 S Biscayne Blvd        Suite
            4100       Miami, FL 33131
cr          Direct Food Ingredients, Inc.        1235 Activity Drive Suite B          Vista, CA 92081
14343504 3M           PO Box 844127            Dallas, TX 75284−4127
14373504 A&A Pharmachem                4−77 Auriga Drive          Ottawo, Onterio Canada K2E727
14343507 AIDP, Inc.          19535 East Walnut Drive South             Rowland Heights, CA 91748
14373507 AM Trust North America              P. O. Box 6939          Cleveland, OH 44101−1939
14343520 APP Global, Inc           1940 S Lynx Place           Ontario, CA 91761
14343505 Acasi Machinery Inc.            7085 NW 46th Street           Miami, FL 33166
14373505 Accutek           2685 S. Melrose DR.           Vista, CA 92081
14343506 Advanced Air & Vacuum                1685 N. Marshall Ave           El Cajon, CA 92020
14350615 Airlite Plastics Co.         Attn: Shona Flack          6110 Abbott Drive          Omaha, NE 68110
14343508 Airlite Plastics, Co.         PO Box 8400           Omaha, NE 68108−0400
14343509 Albion Minerals           101 N. Main           Clearfield, UT 84015
14343510 Alkemist Laboratories            1260 Logan Avenue #B2             Costa Mesa, CA 92626
14455649 Alkemist Labs           12661 Hoover Street           Garden Grove, CA 92841
14373506 Allen Flavors, Inc.          23 Progress Street         Edison, NJ 08820
14396047 Allen Flavors, Inc.          Ira Steinberg, CFO          23 Progress Street        Edison, NJ 08820
14343511 Ally          P. O. Box 9001948           Louisville, KY 40290−1948
14349069 Ally Financial          PO Box 130424            Roseville MN 55113−0004
14343512 Almax Corporation             7 Schindler Dr         Rockaway, NJ 07866
14343513 AlphaNutra Solution Limited             Brown & Joseph, Ltd.           c/o Don Leviton        Po Box
            59838        Schaumburg, IL 60159
14343514 Alvar Enrique Morales             4017 Independence Ave            South Gate, CA 90280
14343515 Alz Chemical           680 Village Trace          Marietta, GA 30067
14343516 Ameri−Seal           21330 Superior Street          Chatsworth, CA 91311
14373508 American Labratories             4410 S. 102nd St.         Omaha, NE 68127
14343517 American Lecithin Company, Inc               115 Hurley Road           Unit 2B       Oxford, CT 06478−1037
14343518 American Nutrition            718 Broadway           Everett, MA 02149
14343519 Analytical Laboratories in Ana            2951 Saturn Street         Brea, CA 92821
14413947 Andrew B. Levin            Winthrop Couchot Golubow Hollander, LLP                660 Newport Center Drive, uite
            400       Newport Beach, CA 92660
14373509 Applied Food Science             8708 S. Concress, Bldg. 290           Austin, TX 78745
14395819 Applied Food Sciences, Inc.            c/o Duane J. Brescia         Strasburger & Price, LLP        720 Brazos, Suite
            700       Austin, TX 78701
14343521 Aramark           Aus West Lockbox             PO Box 101179           Pasadena, CA 91189−1179
14343522 BAG Corp            P O Box 671212            Dallas, TX 75267−1212
14343528 BCS           13550 Danielson St.          Poway, CA 92064
14373510 BDS Naturals           2779 El Presidio St.         Carson, CA 90810
14343523 Banc of America Leasing             2059 Northlake Parkway            3rd Floor North       Tucker, GA 30084
14350299 Banc of America Leasing & Capital, LLC                c/o Wayne R. Terry         Hemar, Rousso & Heald, LLP           15910
            Ventura Blvd., 12th Floor         Encino, CA 91436
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14343524   Bank of America          One Independence Center              NC1−001−05−13, 101 N. Tryon St             Charlotte, NC
           28255−0010
14352733   Bank of America          c/o J. ALEXANDRA RHIM                  Hemar, Rousso & Heald, LLP            15910 Ventura Blvd.,
           12th Floor        Encino, CA 91436
14343525   Bank of America Credit Card            P. O. box 15731          Wilmington, DE 19886−5731
14343526   Bank of America NA            2059 Northlake Pkwy             Tucker, GA 30084
14352732   Bank of America, N.A.           HEMAR, ROUSSO & HEALD, LLP                      c/o J. Alexandra Rhim, Esq.         15910
           Ventura Blvd., 12th Floor          Encino, California 91436          (818) 501−3800
14343965   Bank of America, N.A.           c/o Wayne R. Terry            HEMAR, ROUSSO & HEALD, LLP                   15910 Ventura
           Blvd., 12th Floor        Encino, CA 91436
14407807   Batory Foods         1700 E. Higgins Rd. Suite 300             Des Plaines, IL 60018
14343527   Batory Foods         PO Box 80047             City of Industry, CA 91716−8047
14358180   Berlin Packaging L.L.C.          c/o Brian J. Jackiw, Esq.         Goldstein & McClintock LLLP             111 W.
           Washington, Suite 1221           Chicago, IL 60602
14358179   Berlin Packaging L.L.C.          c/o Nathan A. Schultz, Esq.          Law Office of Nathan A. Schultz, P.C.           10621
           Craig Road         Traverse City, MI 49686
14343529   Berlin Packaging LLC           PO Box 95584             Chicago, IL 60694−5584
14373511   Bestcom (Wuxi) Biotech Co. Ltd             Room 502, No. 5           Zhihui Rd., Huishen Dist.        Wuki City, Jiangsu
           Prov.
14373512   Bosch Packaging Services, Inc.           P. O. Box 95193          Chicago, IL 60694−5193
14343531   Busch Machinery, Inc.          727 E 20th Street          Tucson, AZ 85719
14395603   Business Copier Solutions          13750 Danielson Street           Poway, CA 92064
14352049   CIT Bank NA          PO Box 593007              San Antonio, TX 78259
14343542   CT Corporation System            330 N. Brand Blvd. STE 700            Glendale, CA 91203
14343543   CT Lien Solutions         2727 Allen Parkway             Houston, TX 77019
14343532   Canyon Plastics, Inc.        28455 Livingston Ave             Valencia, CA 91355
14373513   Capital Premium Finance           12235 S. 800 E           Draper, UT 84020
14343533   CapsCanada          456 Silver Creek Industrial Dr.           Tecumeseh, ON N8N 4Y3 Canada
14373514   Century Lable         12836 South Dixie Highway               Bowling Green, OH 43402
14421141   Chad Robinson          679 Merit Dr.           San Marcos, CA 92078
14343534   Chempoint         411 108th Ave NE             Bellevue, WA 98004
14383378   Christopher V. Hawkins, Esq.           Sullivan Hill Lewin Rez& Engel APLC                550 West C Street, Suite
           1500        San Diego, CA 92101
14343535   ChromaDex Inc.          10005 Muirlands Blvd.             Suite G 1st Floor        Irvine, CA 92618
14439251   City of Oceanside,         Office of the City Attorney          300 North Coast Highway           Oceanside, CA
           92054
14343536   Clark Pest Control        PO Box 1480             Lodi, CA 95241−1480
14343537   Clutch        527 Molino Unit # 203            Los Angeles, CA 90013
14343538   Color Maker         1300 N Hancock Street             Anaheim, CA 92807
14343539   Corporation Service Company             801 Adlai Stevenson Drive            Springfield, IL 62703
14343540   Covance Laboratories, Inc.          2102 Wright St.           Madison, WI 53704
14343541   Creative Compounds           600 Daugherty Rd.            PO Box 4011           Scott City, MO 63780
14363148   Creditors Adjustment Bureau, Inc.            14226 Ventura Blvd.          Sherman Oaks, CA 91423
14343544   Custom Blow Molding             946 S. Andreasen DR.            Escondido, CA 92029
14350363   DAVID A. ORTIZ             OFFICE OF THE UNITED STATES TRUSTEE                          880 FRONT STREET, SUITE
           3230        SAN DIEGO, CA 92101
14422657   DMitry Karetny          365 Pamelo Dr. #E1             Vista, CA 92081
14343545   Daylight Transport         CVC Technologies, Inc.             10861 Business Drive          Fontana, CA 92337
14439249   De Lage Landen Financial           Attn: D DiFilippo           1111 Old Eagle School Road          Wayne, PA 19087
14343546   Diana Naturals Inc.         PO Box 157           Silverton, OR 97381
14343547   Direct Food Ingredients, Inc.         1235 Activity Drive Suite B           Vista, CA 92081
14343548   Dongyu USI          2590 Main St.           Irvine, CA 92614
14353079   Dongyu USI          Coface North America Insurance Company                 50 Millstone Rd., Bldg. 100, Ste. 360        East
           Windsor, NJ 08520
14343549   Dynamic Distribution          546 Jesmond Road             Fig Tree Pocket         QLD 4069          Australia, ME
           04014
14343554   ETHORN           16050 Canary Avenue              La Mirada, CA 90638
14343550   Eirich Machines         4033 Ryan Rd            Gurnee, IL 60031
14373515   Electronic Recycling Center          2618 Temple Heights Dr.            Oceanside, CA 92056
14445601   Employment Development Department                 Bankruptcy Group MIC 92E, PO BOX 826880                 Sacramento, CA
           95814
14343551   Enzo         2605 Pinon Ct.         Grapevine, TX 76051
14343552   Eriez Manufacturing Company             2200 Asbury Road            Erie, PA 16506
14343553   Ernest Packaging Solutions          1345 Sycamore Avenue              Vista, CA 92081
14353276   Euler Hermes N.A.          800 Red Brook Blvd.             Owings Mills, MD 21117
14373516   Evolution Salt Co.        3310 W. Barker Lane 300−234               Austin, TX 78758
14343555   FamVans, Inc         10870 Kalama River Ave               Fountain Valley, CA 92708
14373517   Fastenal Company           1334 N. Melrose Dr. STE A&B               Vista, CA 92083
14343556   FedEx         PO Box 7221           Pasadena, CA 91109−7321
14343557   FedEx Corporate Services           Regions Lockbox Services            C/O FedEx SenseAware            Birmingham, AL
           35287−1926
14359995   FedEx Corporate Services, Inc.           3965 Airways Blvd.           Module G, 3rd Floor         Memphis, TN
           38116−5017
14343558   FedEx Freight         Dept LA PO Box 21415               Pasadena, CA 91185−1415
14343559   Feed Me More          2555 W. Centennial Pkwy              North Las Vegas, NV 89084
14395563   Feed Me More          P.O. Box 752740             Las Vegas, NV 89136
14395553   Fifth Nutrisupply, Inc        C/O Hui Heidi Liu            Arbor CPA, APC            17870 Castleton St. STE 230         City
           of Industry, CA 91748
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14343560   Fifth Nutrisupply, Inc.       5595 Daniels St. Unit B          Chino, CA 91710
14343561   Financial Pacific Leasing         C/O CT Lien Solutions           2727 Allen Parkway          Houston, TX 77019
14395557   Financial Pacific Leasing         C/O CT Lien Solutions           818 W. Seventh St. STE 930           Los Angeles, CA
           90017
14363208   Financial Pacific Leasing, Inc., a Washington Corp           C/O Spiwak & Iezza, LLP            555 Marin Street, Suite
           140        Thousand Oaks, CA 91360
14343563   Five Percent Nutrition        8285 Bryan Dairy Road            Suite 190         Largo, FL 33777
14395559   Fredrick W. Kosmo, Jr. Esq.          Wilson, Turner, Kosmo, LLP             550 West C. Street #1050        San Diego, CA
           92101
14402291   Fredrick W. Kosmo, Jr. Esq.          Wilson, Turner, Kosmo, LLP             550 West C. Street #1050        San Diego, CA
           92101
14343564   Fredrick W. Kosmo, Jr. Esq.          Wilson, Turner, Kosmo, LLP             San Diego, CA 92101
14343565   Fuller Enterprise USA, Inc.         1735 E. Grevillea Ct.         Ontario, CA 91761
14343569   GNT USA           660 White Plains Road          Tarrytown, NY 10591
14376514   Gary B. Rudolph, Esq.         SULLIVAN HILL LEWIN REZ & ENGEL, APLC                          550 West C Street, Suite
           1500         San Diego, CA 92101
14343566   General Ingredients Solutions,         1220 E. Elm Street          Ontario, CA 91761
14373518   Genysis Nutrition Labs/VMI           391 S. Orange Street          Salt Lake City, UT 84104
14486845   George Nutting Co Inc          1907 Dotman Road            Bainbridge GA 39817
14365100   Glanbia Business Services, Inc.         975 Meridian Lake Drive            Aurora, IL 60504
14343567   Glanbia Nutritionals        c/o Glanbia Business Services,           Dept 3331         Carol Stream, IL 60132−3331
14343568   Global Formulas         27111 Aliso Creek Road            Ste. 175         Aliso Viejo, CA 92656
14343570   Golden Globe Group, LLC            13567 OLD EL CAMINO REAL                    San Diego, CA 92130
14358105   Goldstein & McClintock LLLP             Attn: Brian J. Jackiw         111 W. Washington           Suite
           1221         Chicago, IL 60602
14379976   Granite Nutrition        30 Waterworks Way            Irvine, CA 92678
14395556   Granite Nutrition        30 Waterworks Way            Irvine, CA 92678
14343571   Granite Nutrition        P.O. Box 1090         Placentia, CA 92871
14373519   Great American Packaging           431 S. Soto St., STE B           Los Angeles, CA 90058
14379975   Great American Packaging           4361 S. Soto Street         Vernon, CA 90058
14395564   Great American Packaging           C/O Greg Gurewitz            4361 S. Soto St., STE B         Vernon, CA 90058
14395558   Green Wave Ingredients          C/O Michael Magnuson              13215 Penn Street        Whittier, CA 90602
14343572   Green Wave Ingredients          Ima North America, Inc            7 New Lancaster Road          Leominster, MA
           01453
14380050   Green Wave Ingredients, Inc.          c/o Michael S. Magnuson            13215 Penn Street, Suite 205       Whittier, CA
           90602
14343576   HP Ingredients Corp.         707 24th Ave. W.          Bradenton, FL 34205
14386296   HP Ingredients c/o ESP Receivables           399 Asbury Drive           Mandeville, LA 70471
14343577   HS Biopharmaceuticals, Inc.          2792 Loker Ave. West Ste 105             Carlsbad, CA 92010
14343573   Harbor Packaging          PO Box 844969           Los Angeles, CA 90084−4969
14343574   Hawthorne Lift Systems          1600 E. Missiion Road            San Marcos, CA 92069
14379889   Hilmar Cheese Company, Inc.            PO Box 910          Hilmar, CA 95324
14373520   Hilmar Ingredients, Inc.        8901 N. Lander Ave.           Hilmar, CA 95324
14343575   Honey Badger          3005 S. Lamar Blvd          Ste D109 #145           Austin, TX 78704
14373521   IB Fitness        C/O Jerome Moe, Esq          501 W. Broadway, STE 1205               San Diego, CA 92101
14343578   Ima North America, Inc          7 New Lancaster Road            Leominster, MA 01453
14373522   Image Fillers        735 Foxchase, STE 111           Coatsville, PA 19380
14343579   Image Fillers, Inc       735 Fox Chaxe, STE 111            Coatesvill, PA 19320
14343580   Infinite Packaging Group          712 Valley Ridge Circle          Lewisville, TX 75057
14373523   Innovative Muscle         633 13thStreet, Unit 41         San Diego, CA 92154
14395565   Innovative Muscle, LLC           C/O Stephen Kerson           10861 Queensland St.          Los Angeles, CA 90034
14343581   Inspired Nutraceuticals        6242 Warner Ave 9F            Huntington Beach, CA 92647
14395561   Inspired Nutraceuticals        795 E. Factory Dr. STE C            Saint George, UT 84790
14343582   Integrated Time Systems, LLC            740 N Plankinton Rd. STE 730            Milwaukee, WI 53203
14343583   InterHealth, Inc.       5451 Industrial Way         Benicia, CA 94510
14363150   Internal Revenue Service         PO Box 7346           Philadelphia, PA 19101−7346
14343588   JJJ Enterprises        PO Box 463021          Escondido, CA 92046
14343584   Jennison Quality Components            54 Arch Street Extension          Carnegie, PA 15106
14343585   Jennison Quality Components, I           54 Arch Street Extension          P.O. Box 861         Carnegie, PA
           15106−0861
14343586   Jiaherb Inc.       1 Chapin Rd. Unit 1         Pine Brook, NJ 07058
14343587   Jigsaw        9035 E Pima Center Parkway            Suite 3         Scottsdale, AZ 85258
14421148   Joseph A. Abramo          4130 Milano Way           Oceanside, CA 92057
14343589   Joseph O'Dea         3688 Camino de las Lomas            Vista, CA 92084
14376724   Joseph O'Dea         c/o Gary B. Rudolph, Esq.          SULLIVAN HILL LEWIN REZ & ENGEL, APLC                        550
           West C Street, Suite 1500         San Diego, CA 92101
14343591   Joseph Odea         3688 Camino de las Lomas            Vista, CA 92084
14343590   Joseph Odea         4645 North Ave.          Oceanside, CA 92056
14343592   Jost Chemical         8150 Lackland Road          Saint Louis, MO 63114
14373524   KPC Mastercraft International          300 Brynt Lane          Woodbury, TN 37190
14422656   Katherine Haycook          480 Dennis Drive          Vista, CA 92083
14343593   Kelly Services        PO Box 31001−0422            Pasadena, CA 91110−0422
14393588   Kelly Sevices, Inc.        999 West Big Beaver           Troy, MI 48084
14343594   Kevin M. Bell, Esq.         Porzio, Bromberg @ Newman, PC                1200 New Hampshire Ave NW,
           710        Washington, DC 20036
14343596   Kyowa Hakko           600 Third Ave, 19th Floor          New York, NY 10016
14400522   LA Leasing, Inc         600 35th Avenue          Moline, IL 61265
14343598   LC Magnetics          1139 N. Kraemer Place          Anaheim, CA 92806
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                                                                   5
14343599   LCA Bank Corporation             P. O. Box 1650         Troy, MI 48099−1650
14358104   Law Office of Nathan A. Schultz, P.C.           Attn: Nathan A. Schultz          10621 Craig Road         Traverse City,
           MI 49686
14343597   Layn USA, Inc          20250 Acacia St.          Suite 105        Newport Beach, CA 92660
14343600   Leak Star Advanced Leak Detect             PO Box 2333          Carlsbad, CA 92018
14373525   Logisticx Fox         7461 Garden Grove Blvd. Unit A            Garden Grove, CA 92841
14343612   MJB Freight Systems, Inc            6225 Marindustry Dr.         San Diego, CA 92121
14343613   MTC Industries, Inc.          255 Oser Ave         Hauppauge, NY 11788
14343601   Marburg Industries Inc.          1207 Activity Drive         Vista, CA 92081
14373526   Marina Teel        Jerome Moe, Esq.            501 W. Broadway, STE 1025              San Diego, CA 92101
14373527   Markem−Imaje           P. O. Box 3542           Boston, MA 02241
14343603   Marlin Leasing Corporation            300 Fellowship Road          Mount Laurel, NJ 08054
14343602   Marlin Leasing Corporation            6470 E. Johns Crossing          Duluth, GA 30097
14343604   Max Racks, Inc          3791 Hillside Ave         Norco, CA 92860
14343605   MayPro Industries, LLC.            2975 Westchester Avenue           Purchase, NY 10577
14410936   Mayfield Bustarde, LLP            462 Stevens Ave. Suite 303          Solana Beach, CA 92075
14343606   McMaster−Carr           PO Box 7690           Chicago, IL 60680−7690
14466874   Melody G. Anderson, Esq.             WRIGHT LAW GROUP, PLLC                   4470 W. Sunset Blvd. Suite 90003         Los
           Angeles, CA 90027
14373528   Metro Fire and Safety          2733 Via Orange Way, STE 103             Spring Valley, CA 91978
14343607   Metrolift       556 Commerce Street            Franklin Lakes, NJ 07417
14441604   Michael B. Lestino          259 Prospects Plains Road, Building A           Cranbury, NJ 08512
14343608   Michael D. Schulman, Esq.             18757 Burbank Blvd. STE 310           Tarzana, CA 91356−3375
14343609   Micro Quality Labs, Inc.          3120 N Clybourn Ave.           Burbank, CA 91505
14343610   Milne Fruit (MicroDried)           P.O. Box 368         Grandview, WA 98930
14343611   Mitsubishi International Food           2200 Fletcher Ave. 5th Fl.        Fort Lee, NJ 07024
14387511   Mitsubishi International Food Ingredients, Inc.          2200 Fletcher Ave. Ste. 503         Fort Lee, NJ 07024
14343614   Muriello Muscle          1102 Robinwood Drive             Oldsmar, FL 34677
14373529   NSF International         P. O. Box 77000          Detroit, MI 48277−1380
14343615   Natreon, Inc        2−D Janine Place          New Brunswick, NJ 08901
14343616   Natural Alternatives Int. Inc.         1535 Faraday Avenue           Carlsbad, CA 92008
14343617   Nature's Supplements, Inc.           1342 Rocky Point Drive          Oceanside, CA 92056
14343618   Naturex, Inc.        375 Huyler Street         South Hackensack, NJ 07606
14343619   Novel Ingredients, Inc.         72 Deforest Ave.         East Hanover, NJ 07936
14343620   NuLiv Science USA            255 Paseo Tesoro          Walnut, CA 91789
14395554   Nutraleaf Nutrition         1780 Lacosta Meadows Dr. Ste 100             San Marcos, CA 92078
14395555   Nutraleaf Nutrition         1780 Lacosta Meadows Dr. Ste 100             San Marcos, CA 92078
14343621   Nutriom, LLC.          3145 Hogum Bay Rd. NE              Lacey, WA 98516
14373530   Nutriscience        2450 Reservoir Ave.           Trumbull, CT 06611
14343622   Nutrleaf Nutrition        1780 La Costa Meadows Drive              San Marcos, CA 92078
14373532   OSF Flavors, Inc.         P. O. Box 591          Windsor, CT 06095
14373531   OmniActive Health Technologies Inc.             67 East Park ave., Suite 500         Morristown, NJ 07960
14343623   OneSource Distributors, LLC             3951 Oceanic Drive         Oceanside, CA 92056−5832
14343624   Ontario Refrigeration         635 S. Mountain Avenue           Ontario, CA 91762
14343625   Orora Packaging Solutions            PO Box 101150          Pasadena, CA 91189−1150
14415857   Orora Packaging Solutions            dba Manufactured Packaging Products            6600 Valley View Street        Buena
           Park, CA 90620
14343628   PAT Vitamins, Inc.          1751 Curtiss Court         La Verne, CA 91750
14343626   Package All Corp.          PO Box 4105           Rancho Cucamonga, CA 91729
14346206   PanaSource Ingredients Inc.           Coface North America Insurance Company              50 Millstone Rd., Bldg. 100, Ste.
           360       East Windsor, NJ 08520
14343627   PanaSource Ingredients, Inc.           98−A Mayfield Avenue            Edison, NJ 08837
14373533   Peek Packaging          6221 Yarrow Street          Carlsbad, CA 92011
14343629   Pharma Resources Inc.           C/O Dixit Law Firm, PA           3030 N. Rocky Pt. DR. W. #260           Tampa, FL
           33607
14343630   Pharmachem Labs            2929 East White Star Ave           Anaheim, CA 92806−2628
14343631   Platinum Bear         1890 Pinto Circle          Gardnerville, NV 89410
14343632   PlusPharma, Inc          2611 Commerce Way, Suite A             Vista, CA 92081
14343633   Prescott/Patnode         3011 Deeb Court          Vista, CA 92084
14402090   Pretium Packaging LLC             15450 South Outer Forty Ste 120          Chesterfield, MO 63017
14343634   Primeval Nutrition         70 Batesville Blvd. Ste. A         Batesville, AR 72501
14373534   Prinova        36780 Eagle Way            Chicago, IL 60678−1367
14343635   Pro−Scape, Inc.         510 Venture Street         Escondido, CA 92029
14395562   Pro−Scape, Inc.         C/O Michael L. Helms            1441 York Dr.          Vista, CA 92084
14343636   Providence Capital Funding            3020 Saturn Street       Suite 203         Brea, CA 92821
14373535   Pure Valley Nutrition          403 Arrow Hwy, Ste 306           San Dimas, CA 91780
14343637   Pyure Brands, LLC           2277 Trade Center Way, Ste 101            Naples, FL 34109
14360347   Pyure Brands, LLC           c/o Harris J. Koroglu, Esq.        Shutts & Bowen LLP            200 S. Biscayne Blvd., Suite
           4100        Miami, FL 33131
14343640   RJ Van Drunen & Sons, Inc             300 W 6th Street        Momence, IL 60954
14343645   RS HUGHES CO INC                2575 PIONEER AVE STE 102                Vista, CA 92081
14343646   RSP        3381 NW 168th Street             Opa Locka, FL 33056
14343638   Rancho California Center, LP            1656 Bahia Vista Way          La Jolla, CA 92037
14343639   ReadyRefresh by Nestle            PO Box 856158           Louisville, KY 40285−6158
14451099   ReadyRefresh by Nestle            c/o Amy Curtis         375 Paramount Dr          Raynham, MA 02767
14416385   Richard W. Bass          3633 Indiana St. #9         San Diego, CA 92103
14343641   Robert Bailly        20 La Flauta          Rancho Santa Margarita, CA 92688
14343642   Robert Bailly        4645 North Ave           Oceanside, CA 92056
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                                                                   5
14343643   Robert Bailly        73 Northern Pine Loop           Aliso Viejo, CA 92656
14343644   Royalty Nutrition        100 West 5th Street #4F           Long Beach, CA 90802
14343647   Sabinsa        20 Lake Drive          East Windsor, NJ 08520
14373536   Saminchem Inc.          3225 Grapevine St          Mira Loma, CA 91752
14466838   San Diego County Treasurer Tax Collector             Attn: Bankruptcy Desk          1600 Pacific Highway Room
           162        San Diego, CA 92101
14343648   SeaTech Bioproducts Corp.            159 Memorial Dr. Unit C           Shrewsbury, MA 01545
14343649   Sedona Staffing         600 35th Avenue          Moline, IL 61265
14343650   Select Staffing        PO Box 512007           Los Angeles, CA 90051−0007
14343651   Sensaware By FedEx           FedEx Corporate Services, Inc            3640 Hacks Cross Rd. Bldg. D          Memphis, TN
           38125
14373537   Sensient        777 East Wisconsin Ave           Milwaukee, WI 53202
14373538   Seppic Inc.        P. O. Box 101654          Pasadena, CA 91189−1654
14399318   Seppic Inc.        P. O. Box 101654          Pasadena, CA 91189−1654
14358550   Seppic, Inc.        Coface North America Insurance Company               50 Millstone Rd., Bldg. 100, Ste. 360      East
           Windsor, NJ 08520
14373539   Seven Labs         1420 Decision, STE C           Vista, CA 92081
14343652   Shanghai Freeman          377 Hoes Lane, Suite 240            Piscataway, NJ 08854
14368239   Shanghai Freemen Lifescience Co., LTD             Brown & Joseph ltd.          c/o Don Leviton        P.O. Box
           59838         Schaumburg, IL 60159
14343653   Shri Kartikeya Pharma          D. No. 5−9−225, 3rd floor           Sanali Estate, Chirag Ali
           Lane        Andhrapradesh
14493082   Southeastern Freight Lines Inc.         PO Box 1691            Columbia, SC 29202
14343654   Stauber Ingredients        4120 N. Palm Street          Fullerton, CA 92835−1026
14350738   Stauber Ingredients        4645 North Ave.           Oceanside, CA 92056
14343655   Steven J. Cote Esq         Chang & Cote LLP            19138 Walnut Drive, Suite 100           Rowland Heights, CA
           91748
14373540   Stryka Botanicals        279 Homestead Road             Hillsborough, NJ 08844
14343656   Superior Labs         9921 Carmel Mountain Rd. #297              San Diego, CA 92129
14343657   The Western Group           3950 NW St. Helens Rd             Portland, OR 97210
14343658   ThermoFisher Scientific          81 Wyman Street           Waltham, MA 02454
14343659   Tic Gums         4609 Richlynn Drive           Belcamp, MD 21017
14343660   Tristar Machinery         1287 Naperville Drive          Romeoville, IL 60446
14373543   UPS         P. O. Box 1012          Horsham, PA 19044
14373541   Uline        2200 S. Lakeside Dr.         Waukegan, IL 60085
14439682   Uline Shipping Supplies          12575 Uline Drive          Pleasant Prairie, WI 53158
14343661   Ungerer & Company            4 Bridgewater Lane           Lincoln Park, NJ 07035
14343662   UniChem Enterprises, Inc.          1905 S. Lynx Pl          Ontario, CA 91761
14343663   UniFirst        4041 Market Street         San Diego, CA 92102
14415403   Unifirst Corporation         Attn: Accounts Receivable           68 Jonspin Road         Wilmington, MA 01887
14373542   United Fire Group         118 Second Ave SE            Cedar Rapids, IA 52407−3909
14466855   United States Trustee         880 Front Street, Suite 3230          San Diego, CA 92101
14343665   Univar USA, Inc.         PO BOX 34325             Seattle, WA 98124−1325
14374702   Van Drunen Farms           Attn: Stephanie J. Harris         33 N. Dearborn Street, Suite 340        Chicago, IL
           60602
14373544   Vanadium Interactive          9277 Research Drive           Irvine, CA 92618
14343666   Vitajoy USA Inc.         14165 Ramona Avenue Chino, CA                Chino, CA 09171−5753
14343667   Vitalah        41 Hangar Way           Watsonville, CA 95076
14343668   Volt Management Corp            P.O. Box 679307           Dallas, TX 75267−9307
14370062   Volt Management Corp.            c/o Terry Jordan         2421 N. Glassell St.        Orange, CA 92865
14343669   Volt Workforce Solutions           Attn: Director of Contracts         2401 North Glassell St.       Orange, CA
           92865
14373545   Waseta Int. Trading Co. Ltd.          Room 2001−2002−             Golden Eagle Edifice B # 1518         Min Sheng Rd.
           Shanghai China
14412459   Wells Fargo Vendor Financial Services, LLC             1010 Thomas Edison Blvd., SW             Cedar Rapids, IA
           52404
14343670   Wesco Security Systems, Inc.           PO Box 1108           Placentia, CA 92871
14343671   West Coast Environmental            2323 Chico Ave, STE 3            South El Monte, CA 91733
14343672   Westco Chemicals, Inc          12551 Saticoy Street South           North Hollywood, CA 91605
14343673   Wixon         PO Box 88533            Milwaukee, WI 53288−0533
14442418   Wixon, Inc         1390 E Bolivar Ave          St. Francis, WI 53235
                                                                                                                       TOTAL: 294
